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                                                                                 United States Bankruptcy Court
                                                                                     Southern District of Texas

                                                                                        ENTERED
                     IN THE UNITED STATES BANKRUPTCY COURT                          December 03, 2022
                       FOR THE SOUTHERN DISTRICT OF TEXAS                            Nathan Ochsner, Clerk
                                HOUSTON DIVISION

In re:                                            §    Chapter 11
                                                  §
ALEXANDER E. JONES,                               §    Case No. 22-33553
                                                  §
         Debtor.                                  §    (Joint Administration Requested)
                                                  §


 ORDER GRANTING DEBTOR’S MOTION FOR STATUS CONFERENCE (Docket #7)

         This Court, having acted upon and considered Debtor’s Motion for Status Conference

(the “Motion”) requested by Alexander E. Jones, debtor and debtor-in-possession, finds that the

Motion should be approved and relief set forth in this Order granted.

         It is hereby ORDERED that:

         A status conference is hereby set for Wednesday, December 7, 2022 at 2:00

p.m. (Prevailing Central Time), which may be adjourned or continued to a different date

without further notice, other than notice given in open court at such hearing.



          August 02,
          December 03,2019
                       2022
